                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

LAKSHMI FERYETTE RICHARSON,              )
                                         )
                      Plaintiff,         )
                                         )
v.                                       )      JUDGMENT
                                         )      No. 7:15-CV-148-BO
                                         )
SMITHFIELD PACKING FARMLAND              )
TARHEEL,                                 )
                                         )
                      Defendant.         )



Decision by Court.


IT IS ORDERED, ADJUDGED, AND DECREED plaintiff’s application to proceed in forma
pauperis is ALLOWED, and plaintiff’s complaint is DISMISSED for lack of subject matter
jurisdiction.
This case is closed

This Judgment was filed and entered on September 21, 2015, and copies sent to:

Lakshmi Feryette Richardson via US Mail to 3919 Summerfield Lane, Fayetteville, NC 28306



DATE                                     JULIE RICHARDS JOHNSTON, CLERK
September 21, 2015                            By: /s/Lindsay Romine
                                              Deputy Clerk




           Case 7:15-cv-00148-BO Document 5 Filed 09/21/15 Page 1 of 1
